                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      NEWNAN DIVISION

SHEILA HOWINGTON,                            :
                                             :
               Plaintiff,                    :
                                             :
       v.                                    :       Civil Action No.: 3:17-cv-00167-TCB-RGV
                                             :
TROUP COUNTY, TROUP COUNTY                   :
HOGANSVILLE SENIOR CENTER, and               :
DAN WOOTEN,                                  :
                                             :
               Defendants.                   :

                                 ANSWER OF DEFENDANTS

       COME NOW Troup County, “Troup County Hogansville Senior Center,” and Dan

Wooten, Defendants herein, and file their Answer to Plaintiff’s Complaint, respectfully showing

the Court the following:

                                       FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                     SECOND DEFENSE

       Defendants deny generally that Plaintiff has been subjected to the deprivation of any

rights, privileges, or immunities of the Constitution or laws of the United States or the State of

Georgia.

                                      THIRD DEFENSE

       Defendants enjoy sovereign immunity, governmental immunity, qualified immunity,

official immunity, and any other immunities provided them by federal and/or state law.

                                     FOURTH DEFENSE

       “Troup County Hogansville Senior Center” is not a legal entity capable of being sued.
                                       FIFTH DEFENSE

       Defendants are not subject to punitive damages.

                                       SIXTH DEFENSE

       In answer to the separately enumerated paragraphs of Plaintiff’s Complaint, Defendants

respond as follows:

                                    Jurisdiction and Venue

                                                1.

       Admitted that this Court has jurisdiction over the Complaint as pled.

                                                2.

       Admitted that venue is proper but denied that any “unlawful conduct” occurred.

                                                3.

       Defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in the first sentence of paragraph 3 and, therefore, can neither

admit nor deny the same. The second sentence of paragraph 3 is admitted.

                                                4.

       Admitted.

                                                5.

       Admitted.

                                                6.

       Denied as pled.

                                       Factual Allegations

                                                7.

       Admitted.
                                                 8.

       Admitted.

                                                 9.

       Defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations concerning Plaintiff’s “‘dream job,’” and, therefore, can neither admit nor

deny the same. The remainder of paragraph 3 is admitted.

                                                10.

       Admitted.

                                                11.

       Denied.

                                                12.

       Denied.

                                                13.

       Denied.

                                                14.

       The first sentence of paragraph 14 is denied. The second sentence of paragraph 14 is

denied as pled.

                                                15.

       Denied.

                                                16.

       Denied.

                                                17.

       Denied as pled.
                                               18.

       Denied.

                                               19.

       Denied.

                                               20.

       Admitted that Don Howell was the Director of the Troup County Parks and Recreation

Commission. The remainder of paragraph 20 is denied.

                                               21.

       Denied.

                                               22.

       Denied.

                                               23.

       Denied.

                                               24.

       Denied.

                                               25.

       Denied.

                                               26.

       The first sentence of paragraph 26 is denied. The second sentence of paragraph 26 is

denied as pled. The third sentence of paragraph 26 is denied as pled.

                                               27.

       Denied.
                                                 28.

          Denied.

                            Governmental and Decision Maker Liability

                                                 29.

          Denied.

                                                 30.

          Denied as pled. In further response, Defendants state that the allegations in paragraph 30

are vague, confusing, and incomprehensible.

                                                 31.

          Denied as pled.

                                                 32.

          Denied as pled.

                                                 33.

          Admitted that sexual harassment and creating a sexually hostile work environment

violate the United States Constitution; denied that Plaintiff experienced any sexual harassment or

a sexually hostile work environment.

                                                 34.

          Denied as pled.

                                               Count I

                                                 35.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.
                                                36.

       Admitted that Plaintiff has those rights, privileges, or immunities guaranteed by the

Constitution or laws of the United States or the State of Georgia.

                                                37.

       Denied.

                                                38.

       Denied.

                                                39.

       Denied.

                                                40.

       Denied.

                                                41.

       Denied.

                                                42.

       Denied as pled.

                                                43.

       Denied.

                                                44.

       Denied.

                                                45.

       Denied.
                                            Count Two

                                                46.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.

                                                47.

          Admitted that Plaintiff has those rights, privileges, or immunities guaranteed by the

Constitution or laws of the United States or the State of Georgia.

                                                48.

          Denied.

                                                49.

          Denied.

                                                50.

          Denied.

                                                51.

          Denied.

                                                52.

          Denied as pled.

                                                53.

          Denied as pled. Defendants admit that one of Mr. Wooten’s employment duties was to

supervise Plaintiff. Defendants specifically deny that any of Mr. Wooten’s alleged actions or

inactions renders any Defendant liable to Plaintiff.

                                                54.

          Denied as pled.
                                                55.

          Denied.

                                           Count Three

                                                56.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.

                                                57.

          Denied.

                                                58.

          Denied.

                                                59.

          Denied.

                                                60.

          Denied.

                                                61.

          Denied.

                                           Count Four

                                                62.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.

                                                63.

          Denied.
                                                64.

          Denied.

                                             Count Five

                                                65.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.

                                                66.

          Admitted that O.C.G.A. § 34-2-10(a) has been properly quoted; denied that Plaintiff

quoted the entirety of O.C.G.A. § 34-2-10.

                                                67.

          Denied.

                                             Count Six

                                                68.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.

                                                69.

          Denied.

                                                70.

          Denied.

                                           Count Seven

                                                71.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.
                                                 72.

          Denied.

                                                 73.

          Denied.

                                            Count Eight

                                                 74.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.

                                                 75.

          Denied.

                                             Count Nine

                                                 76.

          Defendants incorporate their responses to the preceding paragraphs as if fully restated

herein.

                                                 77.

          Denied.

          Any allegations of Plaintiff’s Complaint not herein admitted or not responded to for lack

of knowledge or information sufficient to form a belief as to the truth thereof, are hereby denied.

          WHEREFORE, having fully answered, Defendants pray as follows:

          a)     That Plaintiff’s Complaint be dismissed against them.

          b)     That Judgment be entered in favor of Defendants for all costs of this action,

                 including reasonable attorney’s fees.

          c)     That Defendants have trial by jury as to any factual issues.
d)     That Defendants have such other and further relief as the Court deems appropriate

       under the circumstances of this case.

Respectfully submitted this 18th day of December, 2017.

                                     /s/Frances L. Clay
                                     Frances L. Clay
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                                     Katz & Griggs, LLP
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                                     Georgia Bar No. 129613

                                     Attorney for Defendants
                               CERTIFICATE OF SERVICE

       I hereby certify that on December 18, 2017, I electronically filed the foregoing pleading

with the Clerk of the Court using CM/ECF system, which will automatically send notice to the

following CM/ECF participant: howie@slomkalawfirm.com.


       This 18th day of December, 2017.

                                                   /s/ Frances L. Clay
                                                   Frances L. Clay
